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                                                                                 FILED IN THE
 3                                                                           U.S. DISTRICT COURT
                                                                       EASTERN DISTRICT OF WASHINGTON

 4
                                                                        Jun 26, 2019
 5                                                                          SEAN F. MCAVOY, CLERK


 6
 7                          UNITED STATES DISTRICT COURT
 8                      EASTERN DISTRICT OF WASHIGNTON
 9
10   RUSSELL DUANE MCNEIL,                       No. 2:13-CV-3065-JTR
11                       Petitioner,
12                                               REPORT AND RECOMMENDATION
                                                 TO DISMISS PETITION WITHOUT
13                     v.                        PREJUDICE
14
15   MAGGIE MILLER-STOUT,
16                       Respondent.
17
18         BEFORE THE COURT is Petitioner’s 28 U.S.C. § 2254 habeas corpus
19   petition filed on June 25, 2013. ECF No. 1. Petitioner is represented by attorney
20   Lenell Nussbaum; Respondent is represented by Assistant Attorney General Alex
21   A. Kostin. Petitioner, who was a juvenile when sentenced to life without parole in
22   Washington State, challenges his sentence as cruel and unusual punishment under
23   Miller v. Alabama, 132 S. Ct. 2455 (2012). ECF No. 1 at 5. The parties have not
24   consented to proceedings before a magistrate judge.
25         During the pendency of the instant action, the Washington State Legislature
26   has enacted a statute establishing a new procedure for re-sentencing prisoners, like
27   Petitioner, who are serving life without parole sentences for an offense committed
28   while under the age of 18. See ECF No. 33 at 2. Petitioner is scheduled to be

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 1   resentenced pursuant to this newly established procedure. Id. In light of this new
 2   state statutory procedure and the pendency of a new sentencing hearing for
 3   Petitioner, the parties have filed the instant “Joint Motion to Dismiss Without
 4   Prejudice.” ECF No. 33.
 5         Based on the foregoing, IT IS HEREBY RECOMMENDED as follows:
 6         1.     The parties’ “Joint Motion to Dismiss Without Prejudice,” ECF No.
 7   33 be GRANTED.
 8         2.     Petitioner’s 28 U.S.C. § 2254 petition, ECF No. 1, be DISMISSED
 9   WITHOUT PREJUDICE.
10                                     OBJECTIONS
11         Any party may object to a magistrate judge’s proposed findings,
12   recommendations or report within fourteen (14) days following service with a
13   copy thereof. Such party shall file written objections with the Clerk of the Court,
14   and serve objections on all parties, specifically identifying the portions to which
15   objection is being made, and the basis therefor. Any response to the objection
16   shall be filed within fourteen (14) days after receipt of the objection. Attention is
17   directed to FED. R. CIV. P. 6(d) which adds additional time after certain kinds of
18   service.
19         A district judge will make a de novo determination of those portions
20   objected to and may accept, reject, or modify the magistrate judge’s determination.
21   The judge need not conduct a new hearing or hear arguments and may consider the
22   magistrate judge’s record and make an independent determination thereon. The
23   judge may, but is not required to, accept or consider additional evidence, or may
24   recommit the matter to the magistrate judge with instructions. United States v.
25   Howell, 231 F.3d 615, 621 (9th Cir. 2000); 28 U.S.C. § 636(b)(1)(B) and (C), FED.
26   R. CIV. P. 72.
27         A magistrate judge’s recommendation cannot be appealed to a court of
28   appeals; only the district judge’s order or judgment can be appealed.

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 1         IT IS SO RECOMMENDED. The Clerk of the Court is directed to enter
 2   this Report and Recommendation, forward a copy to counsel and Petitioner and
 3   SET A CASE MANAGEMENT DEADLINE ACCORDINGLY.
 4         DATED June 26, 2019.
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 6                              _____________________________________
                                          JOHN T. RODGERS
 7                               UNITED STATES MAGISTRATE JUDGE
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